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                      IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION


   IN RE: COOK MEDICAL, INC., IVC             MDL NO. 2570
   FILTERS MARKETING, SALES                   Case No. 1:14-ml-2570-RLY-TAB
   PRACTICES AND PRODUCT
   LIABILITY LITIGATION


   This Document Relates to All Actions



                     CASE MANAGEMENT ORDER NO.___13
           (RULES, POLICIES, PROCEDURES, GUIDELINES RELATING
         TOESTABLISHING COMMON BENEFIT FEE AND EXPENSE FUND)

   I.     SCOPE OF ORDER

          This Order is entered to provide for the fair and equitable sharing among

   plaintiffs, and their counsel, of the burden of services performed and expenses

   incurred by attorneys acting for the common benefit of all plaintiffs in this complex

   litigation.

          A.     Governing Principles and the Common Benefit Doctrine

          The governing principles are derived from the United States Supreme Court’s

   common benefit doctrine, as established in Trustees v. Greenough, 105 U.S. 527

   (1881); refined in, inter alia, Central Railroad & Banking Co. v. Pettus, 113 U.S.

   116 (1885); Sprague v. Ticonic National Bank, 307 U.S. 161 (1939); Mills v. Electric

   Auto-Lite Co., 396 U.S. 375 (1970); Boeing Co. v. Van Gemert, 444 U.S. 472 (1980);

   and approved and implemented in the MDL context, in inter alia, In re Air Crash

   Disaster at Florida Everglades on December 29, 1972, 549 F.2d 1006, 1019-21 (5th
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   Cir. 1977); and In re MGM Grand Hotel Fire Litigation, 660 F.Supp. 522, 525-29 (D.

   Nev. 1987). Common benefit work product includes all work performed for the

   benefit of all plaintiffs including pre-trial matters, discovery, trial preparation, a

   potential settlement process, and all other work that advances this litigation to

   conclusion.

         B.      Application of this Order

         This Order applies to all cases now pending, as well as to any case later filed

   in, transferred to, or removed to this Court and treated as part of the coordinated

   proceeding known as In re Cook Medical, Inc. IVC Filters Marketing, Sales

   Practices and Products Liability Litigation, MDL 2570.

         This Order further applies to each attorney who represents a plaintiff with a

   case now pending in or later filed in, transferred to, or removed to this Court,

   regardless of whether the plaintiff’s attorney signs the “Participation Agreement”

   attached hereto as Exhibit A, and/or the “Joint Prosecution And Confidentiality

   Agreement” (“Joint Prosecution Agreement”) attached hereto as Exhibit B.

         This Order shall also apply to any private lienholder who obtains

   reimbursement from any plaintiff whose case is subject to this Order, because that

   lienholder is benefiting from the common benefit work performed by Participating

   Counsel. Such entities shall be subject to this Order regardless of execution of the

   Participation Agreement or the Joint Prosecution Agreement, as they are seeking to

   obtain part of the recovery obtained by a plaintiff who is subject to this Order and

   the jurisdiction of this Court. Counsel for any private lienholder shall pay amounts



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   consistent with the terms of Paragraph IV(B)(3) of this Order into the Cook IVC

   Filters Fee Fund and the Cook IVC Filters Expense Fund (as those terms are

   defined herein). Private lienholders’ counsel shall not be eligible to make a claim to

   receive any distribution from the Common Benefit Fee Fund or the Common Benefit

   Cost Fund.

         C.      Participation Agreement (Exhibit A) And Joint Prosecution Agreement
                 (Exhibit B)

         Exhibits A and B, attached hereto and incorporated herein, are voluntary

   agreements between and among plaintiffs’ attorneys who have cases pending in the

   MDL and/or in state court.         Said agreements are private and cooperative

   agreements between and among plaintiffs’ attorneys only (“Participating Counsel”);

   and   not    Defendants   or   Defendants’       counsel.   Participating   Counsel   shall

   automatically include all present and Future members of the “Plaintiffs’ Leadership

   Counsel” by virtue of their appointment by the Court as Plaintiffs’ Co-Lead/Liaison

   Counsel and State/Federal Liaison Counsel (“Plaintiffs’ Co-Lead Counsel”), the

   Plaintiffs’ Steering Committee (the “PSC”), The Plaintiffs’ Executive Committee

   (the PEC) and any other plaintiff’s attorneys who execute the Participation

   Agreement (Exhibit A hereto), and the Joint Prosecution and Confidentiality

   Agreement (Exhibit B hereto).All plaintiffs’ attorneys who currently have cases

   pending in this Court or in any state court shall, within 30 days of this Order,

   designate whether or not they are a Participating Counsel or a Non-Participating

   Counsel by signing the appropriate section of each Agreement.               Any plaintiffs’

   attorney who does not yet have a Cook IVC Filters case filed in any federal or state

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   court shall designate whether or not they are a Participating Counsel or a Non-

   Participating Counsel by signing the appropriate section of the Participation

   Agreement: (a) within 30 days of the date their first case is filed in or otherwise

   docketed in this Court via direct filing, transfer or removal; or (b) within 30 days of

   the date their first case is filed in any state court, if that lawyer intends to

   voluntarily become a Participating Counsel at the fee and expense percentages set

   forth herein.   Failure to execute Participation Agreement and Joint Prosecution

   Agreement indicating that an attorney will be a Participating Counsel within the

   time frame set forth in this paragraph may result in higher percentages for common

   benefit assessment as a result of such later participation. Any such higher

   percentages must be approved by the Court.

         Participating Counsel shall be entitled to receive all the common benefit work

   product of those counsel who have also signed the Participation Agreement and

   Joint Prosecution Agreement. Counsel who choose not to execute said agreements

   are not entitled to receive common benefit work product and may be subject to an

   increased assessment on all Cook IVC Filters cases in which they have a fee

   interest if they receive common benefit work product or otherwise benefit by the

   work performed by Participating Counsel.

         The Court recognizes the jurisdictional rights and obligations of the state

   courts to conduct their state court litigation as they so determine and that the state

   court litigations may include counsel who are Participating Counsel. The

   Participation Agreement, Joint Prosecution Agreement, and this Order shall not be



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   cited by a party to either agreement in any other court in support of a position that

   adversely impacts the jurisdictional rights and obligations of the state courts and

   state court Participating Counsel.

   II.   COMMON BENEFIT EXPENSES

         A.     Qualified Time and Expenses Eligible for Reimbursement

         In order to be eligible for reimbursement, common benefit time and expenses

   must meet the requirements of this section and the limitations set forth in the

   Participation Agreement and Joint Prosecution and Confidentiality Agreement.

   Specifically, the time and expenses must be:       (a) for the common benefit; (b)

   appropriately authorized (as defined in footnote 1 of the Participation Agreement);

   (c) timely submitted within the defined limitations set forth in this Order; and (d)

   verified by a partner or shareholder in the submitting firm.

         Time and expense submissions are to be made on the 15th day of each month,

   beginning on February 15, 2016, at which date all qualifying time and expenses up

   to and including January 31, 2015 must be submitted to Plaintiffs’ Co-Lead

   Counsel. Thereafter, each submission should contain all time and expenses incurred

   during the calendar month prior to the submission date (i.e., the February 15, 2016

   submission should include all time and expenses incurred during the month of

   January, 2016), all time and expense submissions should be accompanied by

   contemporaneous records and verified by a partner or shareholder in the submitting

   firm. Submissions of time and expense made after the 15th day of the month

   following the month in which the time or expense were incurred may be rejected.



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   Only time and expense as defined in the Participation Agreement and the Joint

   Prosecution Agreement will be considered and recognized for common benefit

   consideration.

         Only that time and those expenses incurred for the common benefit of all

   cases consistent with the terms of this Order shall be considered for common benefit

   reimbursement at the end of the litigation.

         B.     Shared and Held Common Benefit Expenses

                1.    Shared Costs

         Shared Costs are costs incurred for the common benefit of all plaintiffs.

   Shared Costs will be paid out of a separate Cook IVC Filters Operating Expense

   Fund established and administered by Plaintiffs’ Co-Lead Counsel and funded by

   all members of the PSC and other as determined by Plaintiffs’ Co-Lead Counsel. All

   Shared Costs must be approved by Plaintiffs’ Co-Lead Counsel prior to payment.

   Shared Costs include: (a) certain filing and service costs; (b) deposition, court

   reporter, and video technician costs for non-case-specific depositions; (c) costs

   necessary for creation and maintenance of a document depository, the operation and

   administration of the depository, the search, categorization and organization of

   documents, depositions and evidence, and any equipment required for the

   depository; (d) Plaintiffs’ Co-Lead Counsel administrative matters (e.g., expenses

   for equipment, technology, courier services, telecopier, electronic service, photocopy

   and printing, secretarial/temporary staff, etc.); (e) PSC group administration

   matters such as meetings and conference calls; (f) accountant and administrative



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   consult and auditing fees; (g) generic expert witness and consultant fees and

   expenses; (h) printing, copying, coding, scanning (out of house or extraordinary firm

   cost); (i) research by outside third-party vendors/consultants/ attorneys; (j)

   translation costs; (k) bank or financial institution charges; (l) certain investigative

   services, (m) special master and/or mediator charges, and (n) such other costs as the

   Court deems appropriate for the efficient prosecution of this MDL common to all

   plaintiffs.

                 2.    Held Costs

          Held Costs are those that will be carried by each Participating Counsel in

   MDL 2570. Held Costs are those that do not fall into any of the above categories of

   shared costs, but are incurred for the benefit of all plaintiffs. Held costs can also

   include unreimbursed, but authorized, shared costs. No specific client-related costs

   shall be considered as Held Costs, unless the case is determined by Plaintiffs’ Co-

   Lead Counsel to be a “common benefit case,” e.g., certain bellwether cases as

   determined by Plaintiffs’ Co-Lead Counsel.

          C.     Authorization and Submission

          The Participation Agreement sets forth the guidelines for authorizing and

   submitting expenses for the common benefit. All Participating Counsel seeking

   reimbursement of Held Expenses shall follow those guidelines.




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         D.     Limitations on Expenses

                1.     Travel Limitations

         Except in extraordinary circumstances approved in advance by Plaintiffs’ Co-

   Lead Counsel, all travel reimbursements are subject to the following limitations:

                i.     Airfare: Only the price of a coach seat for a reasonable itinerary

                       will be reimbursed.    Business/First Class Airfare will not be

                       fully reimbursed, except for international flights, which requires

                       prior approval by Plaintiffs’ Co-Lead Counsel in order to be

                       considered for reimbursement. Use of a private aircraft will not

                       be reimbursed. If Business/First Class Airfare is used on

                       domestic flights, then the difference between the Business/First

                       Class Airfare must be shown on the travel Reimbursement form,

                       and only the coach fare will be reimbursed.

                ii.    Hotel: Hotel room charges for the average available room rate of

                       a business hotel, including the Hyatt, Westin, and Marriott

                       hotels, in the city in which the stay occurred will be reimbursed.

                       Luxury hotels will not be fully reimbursed but will be

                       reimbursed at the average available rate of a business hotel.

                iii.   Meals: Meal expenses, including gratuities, must be reasonable,

                       and shall not exceed $75 per day per person. There will be no

                       reimbursement for alcoholic beverages, mini- bar items, or

                       movies.



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               iv.   Cash Expenses: Miscellaneous cash expenses for which receipts

                     generally are not available (tips, luggage handling, pay

                     telephone, etc.) will be reimbursed up to $50.00 per trip, as long

                     as the expenses are properly itemized.

               v.    Rental Automobiles: Luxury automobile rentals will not be fully

                     reimbursed, unless only luxury automobiles were available. If

                     luxury automobiles are selected when non-luxury vehicles are

                     available, then the difference between the luxury and non-

                     luxury vehicle rates must be shown on the travel reimbursement

                     form, and only the non-luxury rate may be claimed, unless such

                     larger-sized vehicle is needed to accommodate several counsel,

                     or equipment.

               vi.   Mileage:    Mileage claims must be documented by stating

                     origination point, destination, total actual miles for each trip,

                     and the rate per mile paid by the member’s firm. The maximum

                     allowable rate will be the maximum rate allowed by the IRS

                     (currently 50.5¢ per mile).

         2.    Non-Travel Limitations

               i.    Shipping, Courier, and Delivery Charges: All claimed expenses

                     must be documented with bills showing the sender, origin of the

                     package, recipient, and destination of the package.




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                ii.    Postage Charges:     A contemporaneous postage log or other

                       supporting documentation must be maintained and submitted.

                       Postage charges are to be reported at actual cost.

                iii.   Telefax   Charges:      Contemporaneous     records   should   be

                       maintained and submitted showing faxes sent and received. The

                       per-fax charge shall not exceed $1.00 per page.

                iv.    In-House Photocopy: A contemporaneous photocopy log or other

                       supporting documentation must be maintained and submitted.

                       The maximum copy charge is 15¢ per page.

                v.     Computerized Research – Lexis/Westlaw: Claims for Lexis or

                       Westlaw, and other computerized legal research expenses,

                       should be in the exact amount charged to or allocated by the

                       firm for these research services.

          E.    Verification

          The forms detailing expenses shall be certified by a senior partner in each

   firm attesting to the accuracy of the submissions. Attorneys shall keep receipts for

   all expenses. Credit card receipts are an appropriate form of verification if

   accompanied by a declaration from counsel that the expense was incurred and paid

   for the common benefit.




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   III.   COMMON BENEFIT WORK

          A.    Qualified Common Benefit Work Eligible for Reimbursement

          Only Participating Counsel are eligible for reimbursement for time and

   efforts expended for the common benefit. Participating Counsel shall be eligible for

   reimbursement for time and efforts expended for common benefit work if said time

   and efforts are:   (a) for the common benefit; (b) appropriately authorized (as

   described in footnote 1 of the Participation Agreement); (c) timely submitted; and

   (d) verified by a partner or shareholder in the submitting firm.

          B.    Compensable Common Benefit Work Defined

          As the litigation progresses and common benefit work product continues to be

   generated, Plaintiffs’ Co-Lead Counsel may assign Participating Counsel with

   common benefit work; common benefit work shall include only work specifically

   assigned. Examples of common benefit work include, but are not limited to, legal

   research and briefing, authorized court appearances, special projects, meetings,

   conference calls, maintenance and working in the depository; review and document

   coding; preparing, responding to, and dealing with common-benefit discovery;

   expert retention and development authorized by Co-Lead Counsel; preparing for

   and conducting authorized depositions of Defendants, third-party witnesses, and

   experts; and activities associated with preparation for trial and the trial of any

   cases designated as “common benefit trials” by Plaintiffs’ Co-Lead Counsel.




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            C.    Authorization and Time Keeping

            All time must be authorized and accurately and contemporaneously

   maintained. Time shall be kept according to the guidelines set forth in the

   Participation Agreement and approved by Plaintiffs’ Co-Lead Counsel.

   IV.      PLAINTIFFS’ LITIGATION FEE AND EXPENSE FUNDS

            A.    Establishing the Fee and Expense Funds

            At an appropriate time, Plaintiffs’ Co-Lead Counsel shall ask the Court to

   direct that two interest-bearing accounts be established to receive and disburse

   funds as provided in this Order (the “Funds”). The first fund shall be designated

   the “Cook IVC Filters Fee Fund” and the second fund shall be designated the “Cook

   IVC Filters Expense Fund.” These funds will be held subject to the direction of this

   Court.

            By subsequent Order of this Court, the Court will appoint a qualified

   certified public accountant (the “CPA”) to serve as escrow agent over the Funds and

   to keep detailed records of all deposits and withdrawals and to prepare tax returns

   and other tax filings in connection with the Funds. Such subsequent Order shall

   specify the hourly rates to be charged by the CPA and for the CPA’s assistants, who

   shall be utilized where appropriate to control costs.       The CPA shall submit

   quarterly detailed bills to the Court and to Plaintiffs’ Co-Lead Counsel.     Upon

   approval by the Court, the CPA’s bills shall be paid from the Cook IVC Filters

   Expense Fund and shall be considered a shared cost.          The Plaintiffs’ Liaison

   Counsel shall provide a copy of this Order and later orders to the CPA.



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          B.     Payments into the Fee and Expense Funds

                 1.      General Standards

          All plaintiffs and their attorneys who are subject to this Order and who agree

   to settle, compromise, dismiss, or reduce the amount of a claim or, with or without

   trial, recover a judgment for monetary damages or other monetary relief, including

   compensatory and punitive damages, with respect to Cook IVC Filters claims are

   subject to an assessment of the gross monetary recovery, as provided herein.

                 2.      Gross Monetary Recovery

          Gross monetary recovery includes any and all amounts paid to plaintiffs

   (either directly or through plaintiffs’ counsel) by Defendants through a settlement

   or pursuant to a judgment. In measuring the “gross monetary recovery,” the parties

   are to (a) exclude court costs that are to be paid by the Defendants; (b) include any

   payments to be made by the Defendants on an intervention asserted by third-

   parties, such as to physicians, hospitals, or other healthcare providers in

   subrogation related to treatment of a plaintiff, and any governmental liens or

   obligations (e.g., Medicare/Medicaid); and (c) include the present value of any fixed

   and certain payments to be made in the future. The assessment shall apply to all of

   the cases of the plaintiffs’ attorneys who are subject to this Order, whether as sole

   counsel or co-counsel, including cases pending in the MDL, pending in state court,

   unfiled, or tolled.




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                3.    Assessment Amount

          The assessment amount is 8%, which includes 6% for attorneys’ fees and 2%

   for expenses. The assessment represents a holdback (In re Zyprexa Prods. Liab.

   Litig., 267 F.Supp.2d 256 (E.D.N.Y. 2006)) and shall not be altered. However, if any

   counsel fails to timely execute the Participation Agreement and Joint Prosecution

   and Confidentiality Agreement, such counsel and members of his/her firm may be

   subject to an increased assessment.     Moreover, if a Non-Participating Counsel

   receives common benefit work product or otherwise benefits from the common

   benefit work product, such counsel and the cases in which she/he has a fee interest

   may be subject to an increased assessment.

                4.    Defendants’ Obligations

          Upon learning of a case being filed in any state court, Defendants’ Counsel

   promptly shall forward a copy of the state-court complaint to Plaintiffs’ Co-Lead

   Counsel so that Plaintiffs’ Co-Lead Counsel can notify the state-court attorneys of

   this Order and offer them the opportunity to become Participating Counsel.

          The Plaintiffs’ Co-Lead Counsel shall provide the Defendants’ Counsel, the

   CPA, and the Court or its designee with a list of cases and/or counsel who have

   entered into written agreements with the PSC by executing the Participation

   Agreement and Joint Prosecution and Confidentiality Agreement. This same list

   shall be made available to all plaintiffs’ counsel with cases in this MDL, as well as

   any other plaintiffs’ counsel who signs the Participation Agreement and Joint

   Prosecution and Confidentiality Agreement, upon request. In the event there is a



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   dispute as to whether a case should be on the list, Plaintiffs’ Co-Lead Counsel shall

   seek to resolve the matter with the particular plaintiff’s counsel informally, and if

   that is unsuccessful, upon motion to the Court.

          Defendants and their counsel shall not distribute any settlement proceeds to

   any plaintiff (or anyone on behalf of a plaintiff, including plaintiff’s counsel) until

   after (1) Defendants’ counsel notifies Plaintiffs’ Co-Lead Counsel in writing of the

   existence of a settlement and the name of the individual plaintiff and plaintiff’s

   attorney (without disclosing the amount of the settlement), and (2) Plaintiffs’ Co-

   Lead Counsel has advised Defendants’ counsel in writing whether or not the

   individual plaintiff’s attorney’s cases are subject to an assessment and the amount

   (stated as a percentage of the recovery) of the assessment pursuant to this Order.

   Plaintiffs’ Co-Lead Counsel shall share this information only with each other and

   shall otherwise keep this information confidential. For cases subject to an

   assessment, Defendants are directed to withhold an assessment from any and all

   amounts paid to plaintiffs and their counsel and to pay the assessment directly into

   the Funds as a credit against the settlement or judgment. No orders of dismissal of

   any plaintiff’s claim, subject to this Order, shall be entered unless accompanied by a

   certificate of plaintiff’s and defendants’ counsel that the assessment, if applicable,

   will be withheld and will be deposited into the Funds at the same time the

   settlement proceeds are paid to settling counsel. If, for any reason, the assessment

   is not or has not been so withheld, the plaintiff and his/her counsel are jointly

   responsible for paying the assessment into the Fund promptly.



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           Plaintiffs’ Co-Lead Counsel shall keep track of settlements and deposits into

   the Funds for those settlements.        Plaintiffs’ Co-Lead Counsel shall provide the

   Court    monthly    reports   showing    the aggregate   of   the monthly   deposits,

   disbursements, interest earned, financial institution charges, if any, and current

   balance.     If necessary, Plaintiffs’ Co-Lead Counsel may request that the Court

   require Defendants to disclose to the Court the amounts of the settlements reached

   with each plaintiff in order to confirm that appropriate assessments have been

   deposited in the Funds.

   V.      DISTRIBUTIONS

           A.     Court Approval

           The amounts deposited into the Cook IVC Filters Fee Fund and the Cook IVC

   Filters Expense Fund shall be available for distribution to Participating Counsel

   who have performed professional services or incurred expenses for the common

   benefit in accordance with this Order, the Participation Agreement, and the Joint

   Prosecution Agreement. No amounts will be disbursed without review and approval

   by the Court, or such other mechanism as the Court may order. Specifically, such

   sums shall be distributed only upon Order of this Court. This Court retains

   jurisdiction over any common benefit award or distribution.

           B.     Application for Distribution

           Each Participating Counsel who does common benefit work has the right to

   present their claim(s) for compensation and/or reimbursement prior to any

   distribution approved by this Court. Any Counsel who does not sign the



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   Participation Agreement and Joint Prosecution Agreement shall not be eligible to

   receive common benefit payments for any work performed or expenses incurred.

          At the appropriate time, this Court shall request that Plaintiffs’ Co-Lead

   Counsel make recommendations to this Court for distributions to Participating

   Counsel who have performed common benefit work. Plaintiffs’ Co-Lead Counsel

   may employ the services of an agreed-upon independent expert, and after approval

   of the Court, will serve in an advisory and consulting capacity to Co-Lead Counsel

   and the PSC to periodically audit the time submissions of Participating Counsel

   whose consultation and advice regarding billing practices will be shared with

   Participating Counsel so as to ensure the appropriate methods, content, and

   substance of time submissions consistent with the guidelines set forth in this Order.

   Plaintiffs’ Co-Lead Counsel, in consultation with the independent third-party

   expert, shall determine the most fair and efficient manner by which to evaluate all

   of the time and expense submissions in making its recommendation to this Court.

   This Court will give due consideration to the recommendation of the Plaintiffs’ Co-

   Lead Counsel in conjunction with such expert consultation, advice and

   recommendations.

          To the extent that the billing records of any Participating Counsel or any

   plaintiff’s attorney are shared with Plaintiff’s Co-Lead Counsel, the CPA, the

   retained independent expert, or the Court (subject to appropriate protections when

   filing), they retain their status as work product materials and are not discoverable

   by Defendants.



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   VI.    QUARTERLY REPORTS TO THE COURT

          Plaintiffs’ Co-Lead Counsel shall provide the Court with reports on the fees

   and expenses submitted by various plaintiffs’ counsel for eventual reimbursement

   from the common fund in this case as directed by the Court. The reports shall be

   organized so the Court can review the attorneys’ fees incurred for various categories

   of work in the case, and the attorneys who incurred then, and so the Court can

   review the expenses submitted for reimbursement.

   Dated this day of ____________, 2016.
        Date: 3/16/2016

                                           _______________________________
                                          Tim A. Baker
                                   Judge, United  States
                                          United States   District Judge
                                                        Magistrate  Court
                                          Southern
                                   Southern        District
                                            District        of Indiana
                                                      of Indiana
                                   Indianapolis Division


   Service will be made electronically on all ECF-registered counsel of record via email
   generated by the Court’s ECF system.




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                       COOK IVC FILTER LITIGATION
                 COMMON BENEFIT PARTICIPATION AGREEMENT

          THIS AGREEMENT is made this _____ day of _____________________, 2016,

   by and between the Plaintiffs’ Leadership Counsel appointed by the United States

   District Court for the Southern District of Indiana (Indianapolis Division) in MDL

   2570 and ______________________ (the “Participating Counsel”).

          WHEREAS, the United States District Court for the Southern District of

   Indiana has appointed Plaintiffs’ Leadership Counsel (Consisting of Co-Lead

   Counsel, the Plaintiffs’ Executive Committee and the Plaintiffs’ Steering Committee

   and Liaison Counsel), to facilitate and conduct pretrial proceedings in the federal

   actions relating to the use, marketing, and sales of Cook IVC Filters; and

          WHEREAS, The Plaintiffs’ Leadership Counsel, in association with other

   attorneys working for the common benefit of plaintiffs have developed or are in the

   process of developing work product that will be valuable in all Cook IVC Filter cases

   and benefit all plaintiffs alleging injury caused by the use of COOK IVC (Common

   Benefit Work Product); and,

          WHEREAS, the Participating Counsel are desirous of acquiring the Common

   Benefit Work Product and establishing an amicable, working relationship with the

   Plaintiffs’ Leadership Counsel for the mutual benefit of their clients;

          NOW THEREFORE, in consideration of the covenants and promises

   contained herein, and intending to be legally bound hereby, the parties agree as

   follows:
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   I.     SCOPE OF AGREEMENT

          A.    Purpose

          This Participation Agreement is a private cooperative agreement between

   plaintiffs’ attorneys to share Common Benefit Work Product.             Any plaintiffs’

   attorney who executes this Agreement (“Participating Counsel”) is entitled to

   receive the Common Benefit Work Product created by those attorneys who have also

   executed, or have been deemed to have executed, the Participation Agreement

   regardless of the venue in which the attorney’s cases are pending.

          B.    Rights and Obligations of Participating Counsel

          Upon execution of this Participation Agreement the Plaintiffs’ Leadership

   Counsel will provide Participating Counsel access to the Common Benefit Work

   Product, including access to the document depository, and full access and

   availability of work product within the private, secure and confidential plaintiffs-

   only website. Participating Counsel agrees that all cases in which Participating

   Counsel has a fee interest, including unfiled cases, tolled cases, and/or cases filed in

   state and/or federal court, are subject to the terms of the Participation Agreement.

   Participating Counsel shall produce a list that correctly sets forth the name of each

   client represented by Participating Counsel and/or in which Participating Counsel

   has an interest in the attorney fee, regardless of what that interest is, who has filed

   a civil action arising from the use, marketing, and/or sale of Cook IVC Filters. Such

   list shall include the court and docket number of each such case. Participating

   Counsel shall also produce a list that contains the name of each client represented

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   by Participating Counsel and/or in which Participating Counsel has an interest in

   the attorney fee, regardless of what that interest is, who has no yet filed a civil

   action but who has a claim against Defendants arising from the use, marketing,

   and/or sale of Cook IVC filters. Participating counsel shall supplement the lists on a

   quarterly basis and provide the lists to plaintiffs’ Co-lead Counsel. The initial list

   shall be provided within 15 days of signing this Agreement and must be

   supplemented every 90 days thereafter.

   II.    AGREEMENT TO PAY AN ASSESSMENT ON GROSS RECOVERY

          Subject to the terms of this Agreement, the provisions set forth below, and

   the terms of any CMO, all plaintiffs and their attorneys who agree to settle,

   compromise, dismiss, or reduce the amount of a claim, or with or without trial,

   recover a judgement for monetary damages or other monetary relief, including

   compensatory and punitive damages, for any Cook IVC Filters claims are subject to

   an assessment of the Gross Monetary Recovery, as prohibited herein.

          A.    Assessment Amount

          The Assessment amount shall be eight (8) percent of the Gross Monetary

   Recovery in each case, six (6) percent for common benefit attorneys’ fees and two (2)

   percent for common benefit expenses, and represents a holdback. (See in re Zyprexa

   Prods. Liab. Litig. 267 F.Supp.2d 256 (E.D.N.Y. 2006)). By entering this

   Participation Agreement, the undersigned understands and avers not to move, join,

   or otherwise support a motion that seeks a common benefit fee assessment in excess

   of 8%, unless it should become apparent that fees in excess of 6% or costs and

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   expenses in excess of 2% are required to reasonably and adequately advance the

   litigation.

          However, to obtain the benefit of this assessment amount, all plaintiffs’

   counsel with a case pending in this MDL or in any state court shall execute this

   Participation Agreement within 30 days of the entry of the Common Benefit Order.

   Any plaintiffs’ attorney who does not yet have a Cook IVC Filter case filed in any

   state or federal court shall execute this Participation Agreement (a) within 30 days

   of the date their first case is filed in or otherwise docketed in the MDL Court via

   transfer or removal, or (b) within 30 days of the date their first case is filed in any

   state court. Failure to execute the Participation Agreement within these time

   frames may result in an increased assessment as determined by Plaintiffs’ Co- Lead

   counsel and subject to the Court’s approval.

          B.     Gross Monetary Recovery Defined

          Gross Monetary Recovery incudes any and all amounts paid to plaintiffs

   (directly or through plaintiffs’ counsel) by Defendants through a settlement or

   pursuant to a judgment. In measuring the Gross Monetary Recovery, the parties are

   to (a) exclude court costs that are to be paid by the Defendant; (b) include any

   payments to be made by the defendant on an intervention asserted by third-parties,

   such as physicians, hospitals, or other healthcare providers in subrogation related

   to treatment of a plaintiff, and any governmental liens or obligations (e.g.,

   Medicare/Medicaid); and (c) include the present value of any fixed and certain

   payments to be made in the future.

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          C.    Covered Cases

          The assessment amount set forth above and in the related Order shall apply

   to all cases now pending or later filed in, transferred to, or removed to the MDL

   Court and treated as Part of the coordinated Proceeding known as In re: Cook IVC

   Filters Marketing, Sales Practices and Products Liability Litigation, MDL 2570,

   regardless of whether the plaintiffs’ attorney is either Participating or Non-

   Participating Counsel. Counsel who sign this Participation Agreement further agree

   that the assessment shall apply to all un-filed cases, tolled cases, and/or cases filed

   in state court in which they have a fee interest, regardless of the size of that fee

   interest.

          Non-Participating Counsel are not required to pay an assessment on state

   court cases or on un-filed cases. However, counsel who do not sign the Participation

   Agreement are not entitled to receive Common Benefit Work Product, and may be

   subject to an increased assessment on all Cook IVC Filters cases in which they have

   a fee interest if they receive any Common Benefit Work Product or otherwise

   benefit from the Work Product created by Plaintiffs’ Leadership Counsel and other

   Participating Counsel working with the MDL. Non-Participating Counsel shall not

   be eligible to receive Common Benefit payments for any work performed or

   expenses incurred.

          D.    Attorney Fee Lien

          With respect to each client represented in connection with Cook IVC Filters

   related claims that are filed or pending in and Federal court, are un-filed, or are

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   subject to a tolling agreement, each Participating Counsel shall agree to have

   Defendants deposit or cause to be deposited in the Cook IVC Filters fee and

   Expense Funds approved by the District Court in the MDL a percentage of the gross

   amount recovered by each such client that is equal to the assessment amount. In

   the event Defendants do not deposit the assessed percentage into the Funds,

   Plaintiff and Plaintiffs Participating Counsel shall deposit or cause to be deposited

   in the Cook IVC Filters Fee in Expense Funds approved by the District Court in the

   MDL a percentage of the gross amount recovered by each such client that is equal to

   the assessment amount. Participating Counsel, on behalf of themselves, their

   affiliated counsel, and their clients, hereby grant and convey to Plaintiffs”

   Leadership Counsel a lien upon and/or a security interest in any fee generated as a

   result of any recovery by any client who they represent in connection with any Cook

   IVC Filters-induced injury and Cook IVC Filters marketing and sales practices, to

   the full extent permitted by law, in order to secure payment in accordance with the

   provisions of this Agreement. Participating Counsel will undertake all actions and

   execute all documents that are reasonably necessary to effectuate and/or perfect

   this lien and/or security interest.

          E.    Attorney-Client Contracts

          Both the Plaintiffs’ Leadership Counsel and Participating Counsel recognize

   the importance of individual cases and the relationship between case-specific clients

   and their attorneys. Regardless of the type of settlement or conclusion eventually

   made in either state or federal cases, Plaintiffs’ Leadership Counsel will recommend

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   to this Court that appropriate consideration will be given to individual case

   contracts between attorneys and their clients.

   III.   COMMON BENEFIT EXPENSES

          A.     Qualified Expenses Eligible for Reimbursement

          In order to be eligible for reimbursement of common benefit expenses, said

   expenses must be: (a) for the common benefit; (b) appropriately authorized 1 and

   timely submitted; (c) within the defined limitations set forth in this Participation

   Agreement and associated Order, and (d) verified by a partner or shareholder in the

   submitting law firm.

          B.     Authorization and Submission Expenses

          Participating counsel must submit expenses consistent with the Order of the

   Court. Expenses incurred on matters common to all claimants in MDL 2570 and

   assigned by Plaintiffs’ Co-Lead Counsel of the MDL may be submitted for

   reimbursement.

          C.     Verification

          The forms detailing expenses shall be certified by a senior partner in each

   firm, and such certification should attest to the accuracy of the submissions.

   Attorneys shall keep receipts for all expenses. Credit card receipts are an

   appropriate form of verification if accompanied by a declaration from counsel that

   the expense was incurred and paid for the common benefit.

          1 For the purposes of this Participation Agreement, “authorized” or “approved” in

   terms of common benefit expenses and common benefit work shall mean authorized and
   approved by Plaintiffs’ Co-Lead Counsel.

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          Cost records shall be electronically submitted to Plaintiffs’ Co-Lead Counsel

   on a monthly basis. Untimely submission of cost records will result in a waiver of

   said costs. Unsubstantiated costs may be disallowed, as recommended by Plaintiffs’

   Co-Lead Counsel.

   IV.    COMMON BENEFIT WORK

          A.    Common Benefit Work Eligible for Reimbursement

          In order to be eligible for reimbursement, time expended must be: (a) for the

   common benefit; (b) appropriately authorized (see Footnote I supra); (c) timely

   submitted; and (d) verified by a partner or shareholder in the submitting law firm.

   Moreover, if counsel fails to timely submit capital contributions as may be

   requested by Plaintiffs’ Co-Lead Counsel throughout this litigation, such counsel

   and members of his/her firm shall not be allowed to submit common benefit time or

   expenses for reimbursement. Unsubstantiated costs may be disallowed, as

   recommended by Co-Lead Counsel.

          B.    Counsel Involved

          Participating Counsel are prohibited from sharing Common Benefit Work

   Product with Non-Participating Counsel, as defined herein. Counsel eligible to

   perform common benefit work includes Plaintiffs’ Co-Lead Counsel, members of the

   PSC and PEC and Liaison Counsel, Co- Chairs and authorized members of MDL

   Committees, and other Participating Counsel.




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          C.    Authorization

          Time spent on matters common to all claimants in the MDL must be assigned

   by Plaintiffs’ Co-Lead Counsel, directly or via authority specifically provided by

   Plaintiffs’ Co-Lead Counsel to a Chair or Co-Chair of a sanctioned committee to be

   eligible for consideration as common benefit time. No time spent on developing or

   processing individual issues in any case for an individual client (claimant) will be

   considered or should be submitted; nor should time spent on unauthorized work be

   submitted for consideration.

                (1) Examples of Authorized and Unauthorized Work

                      a. Depositions of corporate witnesses: Any attorney not

                         designated as one of the authorized questioners or otherwise

                         authorized to attend a deposition on behalf of the PSC shall

                         not submit time or expenses for preparing or for attending

                         such deposition, as such attendance is deemed to be on behalf

                         of that attorney’s individual clients.

                      b. Periodic PSC, PEC, MDL or Full-Committee Conference

                         Calls Meetings: Such calls and meetings are held so that

                         individual attorneys are kept up-to-date on the status of the

                         litigation, therefore participation by listening to such calls is

                         not common benefit work. Each attorney has an obligation to

                         stay informed about the litigation so that they can best

                         represent their clients and that is a reason to participate in

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                         such calls and meetings. The attorneys designated by

                         Plaintiffs’ Co-Lead Counsel to run those calls are working for

                         the common benefit by keeping other lawyers informed and

                         educated about the case, and their time will be considered

                         common benefit time. Nothing in this paragraph shall be

                         construed to prevent members of the PSC or PEC from

                         submitting common benefit time for participation in PSC or

                         PEC communications that are germane to all members of the

                         PSC of PEC and are necessary to fulfill their PSC or PEC

                         obligations.

                      c. Periodic Status Conferences: Periodic status conferences are

                         held so that the litigation continues to move forward and

                         legal issues are resolved with the Court. Individual attorneys

                         are free to attend any status conference held in open court in

                         order to keep up-to-date on the status of the litigation, but

                         participation by attending and listening to such conferences

                         is not common benefit work. Each attorney has an obligation

                         to stay informed about the litigation so that they can best

                         represent their clients. Mere attendance at a status

                         conference will not be considered a common benefit expense

                         or common benefit time, nor shall participation in such

                         status conferences via telephone be considered common

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                         benefit time. The attorneys designated by Plaintiffs’ Co-Lead

                         Counsel to address issues that will be raised at a given

                         status conference or requested by Plaintiffs’ Co-Lead Counsel

                         to be present at a status conference are working for the

                         common benefit and their time will be considered common

                         benefit time.

                      d. Identification and Work Up of Experts: Participating

                         Attorneys are encouraged to identify experts in consultation

                         with the Co-Chairs of the responsible committees. If a

                         Participating Attorney travels to and retains an expert

                         without the knowledge and approval of the Plaintiffs’ Co-

                         Lead Counsel, the MDL may not need that expert, and the

                         associated time and expense may not be considered the

                         common benefit expenses/work, and therefore may not be

                         compensable.

                      e. Attendance at Various Seminars: Attendance at a seminar

                         that has an agenda item about the Cook IVC Filters

                         litigation is not common benefit work or a common benefit

                         expense.

                      f. Document Review: In the MDL, only document review

                         specifically assigned to an attorney and authorized by

                         Plaintiffs’ Co-Lead Counsel or one of the co-chairs of a

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                         sanctioned Committee will be considered common benefit

                         work. If an attorney elects to review documents that have not

                         been assigned to that attorney by Plaintiffs’ Co-Lead Counsel

                         or one of the Committee Co-Chairs, that review is not

                         considered common benefit work.

                      g. Review of Pleadings and Orders: Each Attorney has an

                         obligation to stay informed about the litigation so they can

                         best represent their clients, and review of pleadings and

                         orders is part of that obligation. Only those attorneys

                         designated by Plaintiffs’ Co-Lead Counsel to review and

                         summarize those pleadings of orders for the MDL are

                         working for the common benefit, and their time will be

                         considered common benefit time. All other counsel are

                         reviewing those pleadings and orders for their own benefit

                         and the benefit of their own clients, and the review is not

                         considered common benefit work. Nothing in this shall be

                         constructed to prevent members of the PSC or PEC from

                         submitting common benefit time for reviewing orders that

                         are germane to all members of the PSC and review of which

                         is necessary to fulfill their PSC obligations.

                      h. Review of Discovery Responses: Each attorney has an

                         obligation to stay informed about the litigation so they can

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                          best represent their clients, and that is a reason to review

                          discovery responses served in this litigation. Only those

                          attorneys designated by Plaintiffs’ Co-Lead Counsel to review

                          and summarize discovery responses for the MDL are working

                          for the common benefit, and their time will be considered

                          common benefit time. All other counsel are reviewing those

                          discovery responses for their own benefit and the benefit of

                          their own clients, and the review is not considered common

                          benefit work.

                       i. Bellwether Trials: While the work-up of individual cases is

                          not considered common benefit work, in the event that a case

                          is selected as part of an approved bellwether trial process in

                          the MDL, or state court proceeding, the time and expenses in

                          trying the case (including work performed as part of the

                          approved bellwether process) may be considered common

                          benefit work at the discretion of Plaintiffs’ Co-Lead Counsel.

          D.    Time Keeping and Submission of Time Records

          All   time   must   be   accurately    and   contemporaneously    maintained.

   Participating Counsel shall keep a daily record of time spent in connection with

   common benefit work on this litigation, indicating with specificity the hours,

   location and particular activity (such as “conducted deposition of John Doe”). Time

   entries must include task-based billing and allocate time to particular tasks; block

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   billing of time will not be accepted. Time entries that are not sufficiently detailed

   may not be considered for common benefit payments. All common benefit work time

   for each firm shall be maintained in tenth-of-an-hour increments. Time submissions

   will be audited by Plaintiffs’ Co-Lead Counsel and a retained independent expert.

          These guidelines are intended for all activities performed and expenses

   incurred by Participating Counsel in MDL 2570.

               1.    All time submissions must be incurred only for work authorized

                     under this Participation Agreement, or as set forth in the Joint

                     Prosecution Agreement.

               2.    All time submissions must be made in the form provided or in the

                     manner required by the Plaintiffs’ Co-Lead Counsel.

               3.    Time and expense submissions are to be made on the 15th day of

                     each month. Each submission should contain all time and

                     expenses incurred, during the calendar month prior to the

                     submission date (i.e., the February 15, 2016 submission should

                     include all time and expenses incurred during the month of

                     January 2016).

               4.    All time and expense submissions should be accompanied by

                     contemporaneous     records   and   verified   by   a   partner   or

                     shareholder in the submitting firm. Submissions of time and

                     expense made after the 15th day of the month following the




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                     month in which the time or expense were incurred may be

                     rejected.

               5.    All time submissions must be electronically sent in the

                     designated form to the attention of Plaintiffs’ Co-Lead Counsel so

                     they can be reviewed, complied, and submitted to the Court at

                     the appropriate time.

               6.    Failure to provide submissions in a timely manner may result in

                     a waiver of attorney fees and expenses claimed for the time

                     period that is the subject of the submission. Failure to submit

                     time and expense records in the format approved by Plaintiffs’

                     Co-Lead Counsel and the PSC may result in a notice of

                     deficiency, after which the submitting firm shall have 15 days to

                     cure the deficient submission. Absent prior approval from

                     Plaintiffs’ Co-Lead Counsel or special circumstances, failure to

                     cure the deficiency within the fifteen-day period shall result in

                     (a) that month’s submission being rejected, and (b) the

                     submitting firm waiving compensation for the time and expenses

                     submitted that month. Upon a determination by Plaintiffs' Co-

                     Lead Counsel that a Participating Law Firm repeatedly fails to

                     comply with the requirement to timely submit time and

                     expense records in the required format, that Participating Law




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                     Firm may be barred from performing future common benefit

                     work.

               7.    Time spent compiling the data for the time and expense

                     submissions is not considered common benefit time and shall not

                     be submitted.

          E.    Distribution of Fees

                1.    No Individual Right of the Funds: No party or attorney has any

                      individual right to any common benefit funds except to the

                      extent directed by Order of The MDL Court. Common benefit

                      funds will not constitute the property of any party or

                      attorney or be subject to garnishment or attachment for

                      the debts of any party or attorney except when and as

                      directed by court order.   These limitations do not preclude a

                      party or Attorney from transferring, assigning, or creating a

                      security interest in potential disbursements from the fund if

                      permitted by applicable state laws and if subject      to the

                      conditions and contingencies of this Agreement.

                2.    Court Approval: The amounts deposited in the Cook IVC Filters

                      Fee Fund shall be available for distribution to attorneys who

                      have performed professional services or incurred expenses for

                      the common benefit. The MDL Court retains jurisdiction over

                      any common benefit award. Each Participating Counsel who

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                      does common benefit work has the right to present their claim(s)

                      for   compensation    and    reimbursement       prior   to   any

                      recommendation to the Court. It is expected that due

                      consideration of payment of common benefit fees and expenses

                      will be given to the recommendation of Plaintiffs' Co-Lead

                      Counsel, after consultation and recommendations of court-

                      approved third-party special master, by the MDL court.



   Date:
                                         Firm Name:
                                         Attorney’s Name:


                                         PLAINTIFFS’ LEADERSHIP COUNSEL


   Date:
                                         Michael W. Heaviside
                                         Plaintiffs’ Co-Lead Counsel


   Date:
                                         Ben Martin
                                         Plaintiffs’ Co-Lead Counsel


   Date:
                                         David P. Matthews
                                         Plaintiffs’ Co-Lead Counsel




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           JOINT PROSECUTION AND CONFIDENTIALITY AGREEMENT
                        In re Cook IVC Filters Litigation

           This Joint Prosecution Agreement (“Agreement”) is made and entered into by

   and between (1) The Plaintiffs’ Leadership Counsel (consisting of Plaintiffs’ Co-

   Lead Counsel, The Plaintiffs’ Executive Committee, and the Plaintiffs’ Steering

   Committee and Plaintiff’s Liaison Counsel) as appointed by the Court in The

   United States District Court for the Southern District of Indiana, Indianapolis

   Division in MDL 2570 and (2) __________________________ (“the Plaintiffs’

   Attorney/Firm”).

           WHEREAS, all federal actions relating to Cook manufactured inferior vena

   cava filters have been consolidated before and transferred to Judge Young in MDL

   No. 2570,

           WHEREAS, Judge Young has ordered that Plaintiffs establish their

   leadership structure to facilitate the conduct of pretrial proceedings in MDL No.

   2570,

           WHEREAS, the Court has appointed Leadership Counsel for MDL No. 2570,

   consisting of Lead Co-Counsel, and a Plaintiff Steering Committee, and a Plaintiffs’

   Executive Committee, and Plaintiff’s Liaison Counsel,

           WHEREAS, the Plaintiffs’ Leadership Counsel            have completed a

   significant amount of discovery and litigation preparation work product that

   will be beneficial to the litigation of state and federal court proceedings

   involving Cook IVC Filters including:

           1.    Taking corporate depositions,
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          2.    Creating and maintaining a document depository,

          3.    Reviewing multiple document productions,

          4.    Creating a database and spreadsheet of the most relevant

   documents,

          5.    Preparing and arguing discovery motions,

          6.    Challenging privilege claims of work product and attorney -client

   privilege,

          7.    Vetting and retaining multi-discipline expert witnesses,

          8.    Participating in multiple telephonic and in person Status

   Conferences with the Court.

          WHEREAS,       the     undersigned       Plaintiff’s   Attorney/Firm   represent

   individual claimants who have been or may be injured as a consequence of their

   Cook manufactured IVC Filter and the Plaintiffs Attorney/Firm has filed either or

   both a state court and/or federal court action on behalf of one or more clients, or are

   in the process of doing so.

          WHEREAS,       the undersigned Plaintiffs Attorney/Firm are desirous of

   acquiring the above described work product created by Plaintiffs’ Leadership

   Counsel in MDL 2570 and establishing an amicable, working relationship with

   Plaintiffs’ Leadership Counsel,

          NOW THEREFORE, in consideration of the covenants and mutual

   promises contained herein, and intending to be legally bound hereby, the parties

   agree as follows:



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          1.   To the extent consistent with the best interest of his or her individual

                client, the undersigned Plaintiff’s Attorney/Firm and the Plaintiffs’

                Leadership Counsel in MDL 2570 agree to assist in a cooperative

                effort to investigate,   prepare and conduct discovery in State and

                Federal Court litigations regarding Cook manufactured IVC Filters

                (“Subject Litigation”) in order to achieve the common interest of

                minimizing cost, maximizing judicial efficiency and assuring the just

                and speedy resolution of the undersigned Plaintiff Attorney's/Firm’s

                individual claim and the other similar claims which collectively

                comprise the Subject Litigation.

          2.   In support these common interests:

               (a) The undersigned Plaintiffs’ Attorney/Firm        a n d    Plaintiffs’

               Leadership Counsel agree to share information              within    their

               professional discretion, including discovery materials concerning the

               common issues involved in the Subject Litigation except where

               restricted by the terms of a valid and operative protective order.

               (b) The undersigned       Plaintiff Attorney/Firm agrees to take

               whatever action (including internal procedures and legal action)

               that is necessary and appropriate to preserve both the work

               product status and confidentiality of the identity and contents of

               materials or information provided to them as a result of this

               Agreement.



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               (c) To enforce the mutual obligations of this Agreement.

          3.   The undersigned Plaintiff Attorney/Firm agrees to maintain the

                confidential status of all confidential information             acquired     in

                furtherance of this Agreement and agrees that all such information

                (including but not limited to the identity and contents of material

                contained in or selected from a document database, confidential

                communications with Plaintiffs’ Leadership Counsel, confidential

                information    acquired    at       seminars,     and   all    correspondence,

                memoranda, notes and other materials based on or reflecting the

                identity or content of such information) shall be maintained in

                absolute confidence.

          4.   In an effort to maintain the confidential status of all information

                generated     by,   developed       by   and/or   acquired    from   Plaintiffs’

                Leadership Counsel, Plaintiff’s Attorney/Firm agree that they will

                not disclose any information so obtained.

          5.   In the event that a Plaintiff’s Attorney/Firm has any data received

                from Plaintiffs’ Leadership Counsel and is compelled by a Court to

                produce or disclose said information, the Plaintiff’s Attorney/Firm

                must immediately move for the imposition of a protective order

                which precludes the attorneys in the subject case from disseminating

                the data to anyone (attorneys or non- attorneys) outside the confines

                of the subject case; the protective order shall further restrict the use



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                of these materials and require the return of the original and any copies

                of these materials at the completion of the case.

          6.   To the extent that the undersigned Plaintiff’s Attorney/Firm discloses

                information in violation of this Agreement, or otherwise waives

                protection available to the undersigned Plaintiff’s Attorney/Firm

                (including but not limited to entitlement to protection under the work

                product doctrine), such waiver shall not extend to other Plaintiff’s

                Attorney/Firm or to Plaintiffs’ Leadership Counsel.

          7.   No provision of this Agreement shall be construed as requiring the

                undersigned Plaintiff’s Attorney/Firm to pay to any other Plaintiff’s

                Attorney/Firm any additional fees or costs not contemplated by this

                Agreement. This Paragraph does not have any effect on any other

                agreements or orders (including assessment orders) that now or

                hereinafter exist relating to payment for any common benefit work

                performed by Plaintiffs’ Leadership Counsel.

          8.   Any obligation assumed under this Agreement shall survive the

                dismissal, settlement or other resolution of any individual claim handled

                by the undersigned Plaintiff’s Attorney/Firm.

          9.   In addition to any other agreements contained herein relating to

                keeping   materials    confidential   and    preventing   disclosure   to

                defendants, Plaintiff’s Attorney/Firm expressly agree not to release the

                materials provided hereunder to any other attorney or Cook IVC



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                Filters claimant whose claims are not represented by Plaintiff’s

                Attorney/Firm herein or who are not otherwise a signatory to this

                Agreement.

          10.   This Agreement shall apply to each and every claim or action arising

                from the defective Cook IVC Filters in which the P l a i n t i f f ’ s

                A t t o r n e y / F i r m have a right to a fee recovery and shall encompass

                all claims, filed or unfiled, wherein the Plaintiff’s Attorney or their

                respective law firms have been directly retained by a client in

                connection with a Cook IVC Filters related claim, or, alternatively,

                are associated as co-counsel or otherwise.

          11.   In the event that a Plaintiff’s Attorney/Firm fails to comply with any

                provision set forth herein, his or her Membership shall be subject to

                immediate termination.

          12.   Plaintiff’s Attorney/Firm and the Plaintiffs’ Leadership Counsel agree

                to consent to the jurisdiction of Judge Young in the United States

                District Court for the Southern District of Indiana, Indianapolis

                Division, for the resolution of any disputes arising from or related to this

                Agreement.

          13.   The Undersigned Plaintiff’s Attorney/Firm agrees to h o n o r any

                common benefit holdback or assessment from settlement or judgment

                proceeds which shall be the subject of a future Case Management




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                Order to be entered in MDL 2570 in The United States District Court

                for the Southern District of Indiana, Indianapolis Division.



   BY:                                    Plaintiff’s Attorney/Firm


   Date:


                                          Plaintiffs’ Leadership Counsel


   Date:




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